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JUN 12 2007

 

UNITED STATES:BANKRUPTCY COURT

 

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EASTERN D|STR|CT OF CAL\FO

 

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EASTERN DISTRICT OF CALIFGRNIA
SACRAMENTO DIVISION

In rex

Case No. 05-21390-3-7
EsTRELLA A. KINCAID and

JAMES M. KINCAID,

Debtors. D.C. No. None

v`./Vvvv\./Vvv

 

MEMORANDUM DECISION

By this motion the debtors seek reconsideration of the court's
January 30, 2007 order (Dkt. 597) denying the debtors' motion to
remove the chapter 7 trustee, Susan Smith (“Smith”) and her
counsel, Russell Cunningham (“Cunningham”) from this case. This
matter came on for final hearing on April 17, 2007, at 9:30 a.m.
Appearances are noted on the record. The following constitutes the
court's findings of fact and conclusions of law, pursuant to
Federal Rule of Bahkruptcy Procedure 7052.

Neither the respondent within the time for opposition nor the
movant within the time for reply has filed a separate statement
identifying each disputed material factual issue relating to the
motion. Accordingly, both movant and respondent have consented to
the resolution of the motion and all disputed material factual

issues pursuant to FRCivP 43(e). LBR 9014-l(f)(l)(ii) and (iii).

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The motion is denied.

As an initial matter, the court notes that the motion violates
Local Bankruptcy Rule (“LBR”) 9014-l(c)(l). The debtors have not
assigned a docket control number to this motion. “In motions filed
in the bankruptcy case, a Docket Control Number (designated as a DC
No.) shall be included by all parties immediately below the case
number on all pleadings and other documents, including proofs of
service, filed in support of or opposition to motion.” LBR 9014-
1(c)(1). The use of docket control numbers is particularly
important in this case, where the docket now exceeds 630 entries.
In addition, the debtors have filed their motion and exhibits
together as a single document in violation of LBR 9014-l(d)(1) and
the Revised Guidelines for Preparation of Documents. These
documents should be filed separately. Despite these defects,

however, the court addresses the merits of the motion.

ANALYSIS

The debtors seek relief from the January 30, 2007 order on the
theory that in reaching its ruling on the debtors’ motion, the
court failed to consider three things: (l) a change in controlling
law since the court entered the January 30, 2007 order, (2)
material facts presented to the court before it rendered its
decision and before it entered the January 30, 2007 order, and (3)
new material facts that have emerged since the court entered the
January 30, 2007 order, The debtors assert that if the court had
considered these things, it would have granted the motion to remove

the trustee.

 

 

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The debtors do not explicitly address the standards for
reconsideration either under Federal Rule of Bankruptcy Procedure
9023 incorporating Federal Rule of Civil Procedure 59 or Federal
Rule of Bankruptcy Procedure 9024 incorporating Federal Rule of
Civil Procedure 60. In this case, the debtors filed the motion for
reconsideration within ten days after entry of the January 30, 2007
order, and the standard for relief under Rule 59(a) applies. Under
Rule 59, reconsideration of a prior order is justified under the
following circumstances: (l) there is an intervening change in
controlling law, (2) the court is presented with newly discovered
evidence, or (3) the court committed clear error or the initial
decision was manifestly unjust. Nunes v. Ashcroft, 375 F.3d 805,
806-07 (9th Cir. 2004). In applying the debtors’ arguments to these
standards, the court finds that vacating the January 30, 2007 order

is not justified.

Intervening Change in Controlling Law

The debtors argue that a recent decision of the United States
District Court for the Eastern District of California in Kincaid v.
Fresno, 06-CV-1445, 2006 WL 3542732 (E.D. Cal 2006) represents an
intervening change in controlling law that justifies
reconsideration of the January 30, 2007 order. Kincaid addressed
the Fourth and Fourteenth Amendment rights of homeless persons in
connection with seizures of personal property by the City of
Fresno, California. The Kincaid court held that the city's routine
seizure and destruction of the property of homeless persons without

giving adequate written notice were violations of the Fourth and

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Fourteenth Amendments. The debtors seek to draw factual parallels
between their case and Kincaid. §They allege that Smith's removal
of certain items of personal property from real property of the
bankruptcy estate in Penryn, California was a violation of their
constitutional rights because Smith failed to give them written
notice before removing, and, the debtors allege, destroying their
property.

Even though the Kincaid decision was reached on December 8,
2006, after the debtors filed their motion for removal of the
trustee, it does not represent a change in the law controlling this
case, Neither Kincaid nor the other case the debtors cite,
Pottinger v. Citv of Miami, 810 F. Supp., 1551, 1573 (S.D. Fla.
1992) is applicable to this motion. The debtors have not shown
that the trustee violated either their Fourth or Fourteenth
Amendment rights. The personal property removed from the Penryn
property was property of the bankruptcy estate; the items listed in
the motion for reconsideration do not appear on the debtors’
schedules and they do not appear on the debtors’ list of claimed
exemptions. Smith removed personal property from the Penryn
property for the purpose of preparing the latter for sale, but she
did so only after filing a motion with the court, giving notice to
the debtors, and receiving permission from the court. §§§ D.C. No.
DNL-9. The debtors’ Fourth and Fourteenth Amendment rights were
not violated in this case; they have shown no evidence of an
unreasonable search and seizure or of a deprivation of their right
to due process. Therefore, the authority cited by the debtors is

not an intervening change in controlling law justifying

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reconsideration of the court’s prior order.
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Newlv Discovered Evidence

The debtors also assert that they have discovered new evidence
that justifies reconsideration of the January 30, 2007 order. They
allege that Larry Odbert (“Odbert”), the settlor and trustee of a
trust that purchased another parcel of real property from the
bankruptcy estate, owes two million dollars in back taxes to the
federal government. They also allege that because Cunningham’s law
firm assisted Odbert in establishing the trust several years before
this case was filed, a connection that was disclosed to the court
prior to the sale, Smith and Cunningham have aided Mr. Odbert in
committing the crime of tax evasion. The debtors assert that this
is improper conduct that justifies reconsideration and removal of
the trustee. The debtors argue that this is newly discovered
evidence because they set forth the allegation of tax evasion for
the first time in a late-filed pleading the morning of the hearing
on the motion to remove the trustee. They have raised the
allegation again because they argue that the court did not consider
the allegation in reaching its ruling on the removal motion.

However, the fact that the debtors set forth the allegation of
tax evasion for the first time in a late filed pleading, and the
fact that the court declined to consider the allegation in reaching
its ruling does not satisfy the standard for newly discovered
evidence justifying reconsideration of a prior order. “To
establish that a district court abused its discretion in denying

such a motion based on newly discovered evidence, the movant must

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show that: ‘(1) the evidence was discovered after trial, (2) the
exercise of due diligence would not have resulted in the evidence
being discovered at an earlier stage and (3) the newly discovered
evidence is of such magnitude that production of it earlier would
likely have changed the outcome of the case.’” Far Out Productions,
InC. V. OSkar, 247 F.3d 986, 992-93 (9th Cir. 2001)(qu0ting
Defenders of Wildlife v. Bernal, 204 F.3d 928, 929 (9th Cir. 2000)).
The debtors satisfy none of these three elements. They have not
shown that the evidence was discovered only after the hearing, they
have not shown that an exercise of due diligence would not have
resulted in its earlier discovery and they have not shown that the
evidence is of such magnitude that its earlier production would
have changed the outcome of the ruling on their motion to remove
the trustee.

Indeed, the debtors have not presented any competent evidence
of tax evasion at all. They have simply made an allegation that
Odbert owes money to the federal government, an allegation which
they have made previously, §ee Dkt. No. 418 at 17. The debtors’
allegation of tax evasion is apparently founded on nothing more
than hearsay evidence and the debtors’ argument that the court can
infer that Odbert has committed the crime from the debtors’ various
statements regarding Odbert's purchase of property of the
bankrutpcy estate on behalf of the C & J Family Trust, his attempts
to take possession of the property, his relationship with the
trust, his alleged prior arrests, and the alleged money he owes in
back taxes. The court will not infer that Odbert has committed a

serious crime based on these allegations. Nor will the court infer

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that the trustee or her counsel aided Odbert in committing an
alleged crime simply because Odbert negotiated the purchase of real

property from the bankruptcy estate on behalf of the trust.

Clear Error/Manifest Injustice

The debtors also argue that the court should reconsider the
January 30, 2007 order because the court failed to “address
the fact of destruction of Kincaid's personal belongings.” (Dkt.
No. 626 at 5). They also seek to re-raise their earlier allegation
that Cunningham has committed a fraud on the court because he
misrepresented the identity of the purchaser of the real property
at 805 F Street in Sacramento, implying that the court previously
failed to address the allegation. (Dkt. no. 606 at 5).

The court has previously considered both of these claims and
found them to be without merit. With respect to the allegations
that Cunningham has committed fraud or has otherwise concealed
information from or misrepresented facts to the court, the court
considered these allegations in ruling on the motion to remove the
trustee, but did not find them credible or persuasive. (§§§ Dkt,
NO. 595 at 6.)

With respect to the argument that the court failed to address
the destruction of the debtors’ personal belongings, the allegation
has been brought to the court’s attention a number of times since
the trustee removed various items of personal property from the
Penryn property to prepare the latter for sale in November 2005.
The debtors have submitted the declarations of witnesses to the

cleanup of the property (Dkt. No. 452). They have also previously

 

 

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submitted a letter written to the United States trustee (Dkt. No.
555 at 5-7) describing the Penryn cleanup operation and listing
items of personal property removed by the trustee in support of
their opposition to the sale of the Penryn property. They also re-
submitted these documents as exhibits in support of their motion to
remove Smith and Cunningham from the case. However, the debtors’
motion was based on Smith and Cunningham’s relationship to Larry
Odbert and the C & J Family Trust, not the circumstances of the
Penryn property cleanup operation. As a result, the court was well
aware of the debtors’ submission of the exhibits, but did not
address them in its ruling because the exhibits were not relevant
to the facts or legal argument set forth in the debtors’ motion.

The court also does not find any manifest injustice in denying
the motion to remove Smith and Cunningham from the case. The court
denied the motion because there was no legal merit to the debtors’
arguments. As with all of the debtors’ motions, the court took
care to consider all of the debtors’ arguments and to issue a
written ruling that clearly set forth a logical argument supported
by legal authority and the facts in the record of the case.

The debtors’ repeated submission of evidence and their failure
to prevail on any of their arguments in this motion for
reconsideration highlight a larger trend in this case, which was
filed on January 10, 2005. Since that time, the litigation in this
case has followed a familiar pattern: whenever the court has
entered a ruling adverse to the debtors, whether it is by denying a
motion brought by the debtors or granting the motion of another

party in interest to this case, the debtors have repeatedly sought

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to reverse those rulings by filing repeated motions for
reconsideration or other motions seeking relief that will
effectively undo every decision that is adverse to them. In some
instances they have sought reconsideration of the same order
multiple times, or have filed repeated requests for the same
relief. In support of their motions, they often attach copies of
prior motions, declarations, and exhibits that they have previously
filed and that the court has previously considered.

The court does not question the debtors’ right to file motions
seeking relief such as that requested in the instant motion for
reconsideration. The court only notes that the debtors have
frequently been denied the relief they seek because many of their
motions simply reargue the same issues again and again. “Motions
for reconsideration that merely revisit the same issues already
ruled upon by the bankruptcy court, or advance supporting facts
that were otherwise available when the issues were originally
briefed, will generally not be granted.” In re Branam, 226 B.R.
45, 54 (9th Cir. BAP 1998), aff’d, 206 F.Bd 1350 (9t]n Cir.

1999) (table) .

This motion for reconsideration exemplifies the trend
described above. Although the debtors argue that they have
identified new controlling legal theories, new evidence, and
evidence that the court previously failed to consider, their
pleadings contain nothing that the court has not previously
considered, and, more importantly, no new evidence that could not
have previously been presented and no new legal theories that could

not have been previously argued. Instead, the debtors appear to

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view this motion for reconsideration as an opportunity to
supplement their original motion with additional facts and legal
authority, having had the benefit of time to review the court's
ruling denying the motion and to perform additional legal research.
A motion for reconsideration is not a vehicle for making a
second attempt at the same argument. It is instead intended to
provide the court with new information or to point out a clear
error in the court's ruling that leads the court to conclude that
the order that is the subject of the reconsideration motion should
not have entered. Thus, in order to prevent a party from using a
reconsideration motion as an opportunity to extend litigation,
delay a final decision on a matter, or merely revisit issues
already considered by the court, the circumstances under which
reconsideration is appropriate are limited. The standard does not
permit reconsideration based on evidence that is “new” solely by
virtue of the fact that it appears on the record for the first time
with the motion for reconsideration or because the moving party
chooses to present it for the first time with the motion for
reconsideration. Nor does it permit reconsideration based on
recent cases which apply long~standing legal principles to unique
factual situations, particularly when those legal principles do not
control the case before the court and the facts are
distinguishable. The motion for reconsideration has not been
properly used here.
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CONCLUSION
For the reasons set forth above, the motion is denied. The
court will issue a separate order consistent with the foregoing

decision.

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THOM.AS C. HOLMAN
UNITED STATES BANKRUPTCY JUDGE

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

James M. Kincaid James M. Kincaid Susan K. Smith
Estre||a A. Kincaid Estre|la A. Kincaid 7485 Rush River Dr.
PO Box 584 PO Box 163733 #710-218

Sacramento, CA 95814 Sacramento, CA 95816 Sacramento, CA 95831
Office of the U.S. Trustee J. Russe|l Cunningham

Robenl'MawuiUnHed 18301501St

States Courthouse Sacramento, CA 95814

501 | Street, F{oom 7-500
Sacramento, CA 95814

DATED ; 6/13/07

By: ?)/M¢@‘é;%d

Deputy Clerk

 

EDc 3-070 (New 4/21/00)

 

